 Case 2:19-cv-09587-ES-CLW Document 1-2 Filed 04/11/19 Page 1 of 6 PageID: 7




                               EXHIBIT A


00319658.1
            ESX-L-002291-19
            ESX-L-002291-19 03/26/2019 12:05:49 PM Pg 1
                                                      1 of 4 Trans ID:
                                                                   ID: LCV2019534417
     Case 2:19-cv-09587-ES-CLW Document 1-2 Filed 04/11/19 Page 2 of 6 PageID: 8



MESCALL & ACOSTA, P.C.
80 Main Street, Suite 360
West Orange, New Jersey 07052
Tel. (973) 669-3339
Fax (973) 669-3331
Attorney ID #: 028561982
Attorneys for Plaintiff

                                                       !   SUPERIOR COURT OF NEW JERSEY
     LOUISE E. SCALERA,
                                                       !   LAW DIVISION:         ESSEX COUNTY
                                                       :   DOCKET NO:            ESX-L-
 Plaintiff,
                                                                         CIVIL ACTION
     -vs-


 DSW DESIGNER SHOE WAREHOUSE/
                                                           COMPLAINT, JURY DEMAND AND
 DSW INC., JOHN DOE (1-10) (fictitious
                                                           DESIGNATION OF TRIAL COUNSEL
 name representing unknown defendant), and
 ABC    CORP.     (1-10)  (fictitious name
 representing unknown defendant),

 Defendants.




            Plaintiff LOUISE E. SCALERA currently residing at 81 Sunrise Drive, in the Township of

Gilette, County of Morris and State of New Jersey, by way of complaint against defendants herein,

states as follows:

                                               COUNT ONE

1.          On or about February 1 8, 201 8, the Plaintiff LOUISE E. SCALERA was a lawful invitee at

a commercial premises known as DSW DESIGNER SHOE WAREHOUSE/DS W INC., and located

at 1 5 1 5 US Highway 22 West, in the Borough of Watchung, County of Somerset and State of New

Jersey, when she was caused to fall due to a dangerous condition on the premises.

2.          On the aforesaid date, and at all other times relevant hereto, the Defendants DSW

DESIGNER SHOE WAREHOUSE/DSW INC., JOHN DOE (1-10) (fictitious name representing

unknown defendant), and ABC CORP. (1-10) (fictitious name representing unknown defendant),

owned, operated, controlled, maintained and/or designed the aforesaid premises.

3.          The defendants were so negligent as to allow a dangerous condition to exist which created

a hazard to persons lawfully on the premises.

4.          As a result of the negligence of these defendants, the plaintiff sustained severe and grievous
       ESX-L-002291-19
       ESX-L-002291-19 03/26/2019 12:05:49 PM Pg 2
                                                 2 of
                                                   of 4
                                                      4 Trans
                                                        Trans ID:
                                                              ID: LCV2019534417
                                                                  LCV2019534417
  Case 2:19-cv-09587-ES-CLW Document 1-2 Filed 04/11/19 Page 3 of 6 PageID: 9



personal injuries, and has endured and will in the future endure, great pain and suffering.

       WHEREFORE, Plaintiff demands judgment against these defendants, jointly, severally

and/or individually, for money damages, together with interest and costs of suit.




                                                              C.MESCALL
Dated: March 25, 2019

                                        JURY DEMAND

       PLEASE TAKE NOTICE that plaintiff demands trial by jury as to all issues contained in

this Complaint.




                                                           ES C. MESCALL

Dated: March 25, 2019

                           DESIGNATION OF TRIAL COUNSEL

       PLEASE TAKE NOTICE that James C. Mescall, Esq., is hereby designated as trial counsel

in the above-captioned matter pursuant to Rule 4:25-4.




Dated: March 25, 2019



                                RULE 4:5-1 CERTIFICATION

       The matter in controversy of this action is not the subject of any other court or arbitration

proceeding, nor is any other court or arbitration proceeding contemplated.

       I HEREBY CERTIFY that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are wilfully false, I am subject to punishment.




Dated: March 25, 2019                                TAMES C MF.Sf.ALP
                     ESX-L-002291-19
                     ESX-L-002291-19 03/26/2019 12:05:49
                                                12:05:49 PM Pg 3 of 4 Trans ID:
                                                                            ID: LCV2019534417
          Case 2:19-cv-09587-ES-CLW Document 1-2 Filed 04/11/19 Page 4 of 6 PageID: 10

                                                                 Appendix XII-B1

                                                                                                                 FOR USE BY CLERK'S OFFICE ONLY
                                     Civil Case Information Statement                                          Payment type:      Qck Qcg Qca
                                                                (CIS)                                          Chg/ck no.
      &
     §    ODD
                                                Use for initial Law Division                                   Amount:
  s si              1)8
  idss     DO
          nrvx        B           Civil Part pleadings (not motions) under Rule 4:5-1
                   <<>"        Pleading will be rejected for filing, under Rule 1:5-6(c),                      Overpayment:
          laoocP
                                     if information above the black bar is not completed
                                               or attorney's signature is not affixed                          Batch number:


 ATTORNEY / PRO SE NAME                                              TELEPHONE NUMBER                 COUNTY OF VENUE

   James C. Mescall, Esq.                                                (973) 669-3339               Essex
  FIRM NAME        (if applicable)                                                                   DOCKET NUMBER (when available)
  MESCALL & ACOSTA, P.C.

  OFFICE ADDRESS                                                                                     DOCUMENT TYPE
  80 Main Street, Suite 360                                                                           Complaint
  West Orange, NJ 07052
                                                                                                     JURY DEMAND              Yes             No

  NAME OF PARTY (e.g., John Doe, Plaintiff)                  CAPTION

  Louise E. Scalera                                           Louise E. Scalera vs. DSW Designer Shoe Warehouse, et al



  CASE TYPE NUMBER                     HURRICANE SANDY
  (See reverse side for listing)       RELATED?              IS THIS A PROFESSIONAL MALPRACTICE CASE?                         YES             NO
                                          YES         NO     IF YOU HAVE CHECKED "YES," SEE N.J.S.A. 2A:53 A -27 AND APPLICABLE CASE LAW
  605
                                                             REGARDING YOUR OBLIGATION TO FILE AN AFFIDAVIT OF MERIT.
 RELATED CASES PENDING?                                      IF YES, LIST DOCKET NUMBERS

                   Yes                    NO


  DO YOU ANTICIPATE ADDING ANY PARTIES                       NAME OF DEFENDANT'S PRIMARY INSURANCE COMPANY (if known)
 (arising out of same transaction or occurrence)?                                                                                         None
                   Yes                    No                                                                                              Unknown

                 THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE.
 CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION

 DO PARTIES HAVE A CURRENT, PAST OR                        IF YES, IS THAT RELATIONSHIP:
 RECURRENT RELATIONSHIP?                                      EMPLOYER/EMPLOYEE                Friend/Neighbor              Other (explain)
                 YES                      No                  Familial                         Business

 DOES THE STATUTE GOVERNING THIS CASE PROVIDE FOR PAYMENT OF FEES BY THE LOSING PARTY?                                      Yes           No
 USE THIS SPACE TO ALERT THE COURT TO ANY SPECIAL CASE CHARACTERISTICS THAT MAY WARRANT INDIVIDUAL MANAGEMENT OR
 ACCELERATED DISPOSITION




            Do you or your client need any disability accommodations?             If yes, please identify the requested accommodation

 Id!               Yes                   NO
            Will an interpreter be needed?                                        If yes, for what language?
                 Yes                     No

 I certify that confidential personal identifiers have been redacted from documents now submitted to the court, and will be
 redacted from ail documj              lifted in the future in accordance with Rule 1:38-7(b).


 ATTORNEY SIGNATURE:




Effective 1 0/1 0/201 8, CNJ0517.                                                                                                         page 1 of 2
                   ESX-L-002291-19
                   ESX-L-002291-19 03/26/2019 12:05:49 PM Pg 4 of 4 Trans ID:
                                                                          ID: LCV2019534417
        Case 2:19-cv-09587-ES-CLW Document 1-2 Filed 04/11/19 Page 5 of 6 PageID: 11

   Side 2
                                          CIVIL CASE INFORMATION STATEMENT
 InfllT6                                                                      (CIS)
                                                      Use for initial pleadings (not motions) under Rule 4:5-1



 CASE TYPES (Choose one and enter number of case type in appropriate space on the reverse side.)
          Track I - 150 days' discovery
             151    NAME CHANGE
             175    FORFEITURE
             302    TENANCY
             399    REAL PROPERTY (other than Tenancy, Contract, Condemnation, Complex Commercial or Construction)
             502    BOOK ACCOUNT (debt collection matters only)
             505    OTHER INSURANCE CLAIM (including declaratory judgment actions)
             506    PIP COVERAGE
             510    UM or UIM CLAIM (coverage issues only)
             51 1   ACTION ON NEGOTIABLE INSTRUMENT
             512    LEMON LAW
             801    SUMMARY ACTION
             802    OPEN PUBLIC RECORDS ACT (summary action)
             999    OTHER (briefly describe nature of action)




          Track II - 300 days' discovery
             305    CONSTRUCTION
             509    EMPLOYMENT (other than CEPA or LAD)
             599    CONTRACT/COMMERCIAL TRANSACTION
             603N AUTO NEGLIGENCE - PERSONAL INJURY (non-verbal threshold)
             603Y   AUTO NEGLIGENCE - PERSONAL INJURY (verbal threshold)
             605    PERSONAL INJURY
             610    AUTO NEGLIGENCE - PROPERTY DAMAGE
             621    UM or UIM CLAIM (includes bodily injury)
             699    TORT -OTHER

          Track 111 - 450 days' discovery
             005    CIVIL RIGHTS
             301    CONDEMNATION
             602    ASSAULT AND BATTERY
             604    MEDICAL MALPRACTICE
             606    PRODUCT LIABILITY
             607    PROFESSIONAL MALPRACTICE
             608    TOXIC TORT
             609    DEFAMATION
             616    WHISTLEBLOWER / CONSCIENTIOUS EMPLOYEE PROTECTION ACT (CEPA) CASES
             617    INVERSE CONDEMNATION
             618    LAW AGAINST DISCRIMINATION (LAD) CASES

          Track IV - Active Case Management by Individual Judge / 450 days' discovery
             156    ENVIRONMENTAL/ENVIRONMENTAL COVERAGE LITIGATION
             303    MT. LAUREL
             508    COMPLEX COMMERCIAL
             513    COMPLEX CONSTRUCTION
             514    INSURANCE FRAUD
             620    FALSE CLAIMS ACT
             701    ACTIONS IN LIEU OF PREROGATIVE WRITS

          Multicounty Litigation (Track IV)
             271    ACCUTANE/ISOTRETINOIN                              296   STRYKER REJUVENATE/ABG II MODULAR HIP STEM COMPONENTS
             274    RISPERDAUSEROQUEL/ZYPREXA                          297   MIRENA CONTRACEPTIVE DEVICE
             281    BRISTOL-MYERS SQUIBB ENVIRONMENTAL                 299   OLMESARTAN MEDOXOMIL MEDICATIONS/BENICAR
             282    FOSAMAX                                            300   TALC-BASED BODY POWDERS
             285    STRYKER TRIDENT HIP IMPLANTS                       601   ASBESTOS
             286    LEVAQUIN                                           623   PROPECIA
             287    YAZ7YASMIN/OCELLA                                  624   STRYKER LFIT CoCr V40 FEMORAL HEADS
             289    REGLAN                                             625   FIREFIGHTER HEARING LOSS LITIGATION
             291    PELVIC MESH/GYNECARE                               626   ABILIFY
             292    PELVIC MESH/BARD                                   627   PHYSIOMESH FLEXIBLE COMPOSITE MESH
             293    DEPUY ASR HIP IMPLANT LITIGATION                  628    TAXOTERE/DOCETAXEL
             295    ALLODERM REGENERATIVE TISSUE MATRIX               629    ZOSTAVAX


          If you believe this case requires a track other than that provided above, please indicate the reason on Side 1 ,
          in the space under "Case Characteristics.

               Please check off each applicable category                      Putative Class Action              Q Title 59


Effective 10/10/2018, CN 10517                                                                                                page 2 of 2
         ESX-L-002291-19 03/26/2019 12:05:49 PM Pg 1 of 1 Trans ID: LCV2019534417
 Case 2:19-cv-09587-ES-CLW Document 1-2 Filed 04/11/19 Page 6 of 6 PageID: 12




                        Civil Case Information Statement
Case Details: ESSEX | Civil Part Docket# L-002291-19

Case Caption: SCALERA LOUISE VS DSW DESIGNER                     Case Type: PERSONAL INJURY
SHOE WA REHOUSE                                                  Document Type: Complaint with Jury Demand
Case Initiation Date: 03/26/2019                                 Jury Demand: YES - 12 JURORS
Attorney Name: JAMES C MESCALL                                   Hurricane Sandy related? NO
Firm Name: MESCALL & ACOSTA PC                                   Is this a professional malpractice case? NO
Address: 80 MAIN ST, STE 360                                     Related cases pending: NO
WEST ORANGE NJ 07052                                             If yes, list docket numbers:
Phone:                                                           Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : Scalera, Louise, E                    transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

03/26/2019                                                                                          /s/ JAMES C MESCALL
Dated                                                                                                             Signed
